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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,

               Plaintiff,
                                                        CASE NO. 1:07-CR-06
v.
                                                        HON. ROBERT HOLMES BELL
JONATHON KEITH BURKEEN,

               Defendant.
                                  /


                       MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #480). The U.S.

Probation Officer’s Report of Eligibility (docket #481) indicates defendant appeared to be

ineligible because cocaine base was not used to determine the base offense level.

       Based on this Court’s review of defendant’s motion and the underlying criminal

file, the Court has determined that the motion should be denied for this reason.

Defendant’s offense level calculation involved powder cocaine and marijuana.

Accordingly,

       IT IS HEREBY ORDERED that the Motion for Modification or Reduction of

Sentence is DENIED because defendant is not eligible.




DATED:     June 9, 2008                    /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          CHIEF UNITED STATES DISTRICT JUDGE
